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                                  IN THE UNITED STATES DISTRICT COURT

                                      FOR THE DISTRICT OF OREGON



     PORTLAND GENERAL ELECTRIC                                Case No. 3:22-cv-00533-SI
     COMPANY, an Oregon corporation,
                                                              NOTICE TO COURT
                     Plaintiff,

              v.

     STATE OF OREGON, by and through THE
     OREGON DEPARTMENT OF STATE
     LANDS, and +/- FIVE ACRES OF
     UNIMPROVED LAND ALONG THE
     WILLAMETTE RIVER NEAR WEST LINN,
     OREGON,

                     Defendants,

              and

     CONFEDERATED TRIBES OF THE
     GRAND RONDE COMMUNITY OF
     OREGON, a federally recognized Indian tribe,

                     Intervenor-Defendants.




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              As the Confederated Tribes of Siletz Indians (“Siletz Tribe”) correctly represented in its

     Local Rule 7-1 Certification, the State does not oppose the Siletz Tribe’s Motion to Intervene in

     this proceeding (“Motion”). (ECF No. 23). The State files this notice, however, to respectfully

     request that, in ruling on the Motion, the Court refrain from making any substantive

     determinations regarding the legal rights of any tribe to engage in cultural harvest at Willamette

     Falls, the source of such rights, or the scope of the State’s regulatory authority with respect to

     fish harvest. Instead, the State believes it appropriate for the Court to assume, without deciding,

     that the Siletz Tribe has the fishing rights that it asserts for the limited purpose of ruling on the
     Motion. In not opposing the Motion, the State makes no concessions regarding any issues,

     including the scope of its regulatory authority. See Cmty. Nat. Bank v. Fid. & Deposit Co. of

     Maryland, 563 F.2d 1319, 1323 (9th Cir. 1977) (issue preclusion inapplicable where an issue is

     not actually litigated or decided).

              This condemnation proceeding is about fee simple ownership of the property PGE seeks

     to condemn (“Property”). The fee simple owner of the Property—whether PGE or the State—

     has the right to control access to the Property. The question of who has authority to harvest fish

     from the Property is a distinct and complex legal question. As the Siletz Tribe aptly states, “the

     exercise of treaty fishing rights is not a simple matter.” Siletz Reply iso Mot. Intervene at 5

     (ECF No. 26); see also Mot. to Intervene at 6, 7-8 (ECF No. 23) (noting that the Siletz Tribe and

     the State do not necessarily agree on the scope of the State’s authority to regulate cultural harvest

     of fish and lamprey). To avoid unnecessarily broadening the narrow issue before the Court, the

     State respectfully requests that the Court refrain from making any substantive findings regarding




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     rights to harvest fish or the State’s regulatory authority regarding such rights; instead, the Court

     should decide whether the Siletz Tribe satisfies the legal standards for intervention on the face of

     the papers submitted.



     DATED September 12 , 2022.

                                                          Respectfully submitted,

                                                          ELLEN F. ROSENBLUM
                                                          Attorney General



                                                              s/ Nina R. Englander
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